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RECEIVED July 29, 2019
James H. Brady sunt PROS ee ;
510 Sicomac Ave. 9019 JUL 30 PH &: Gb JUDGE PARAS
Wyckoff, NJ 07481

United States District Court
of the Southern District of New York
Pro Se Intake Unit

Thurgood Marshall U.S. Courthouse a V 7

40 Foley Square, Room 105 ] 9 C 1 ). 9
New York, NY 10007

To whomever it may concern from the Pro Se Intake Unit,

Please make sure that each exhibit is filed separately.

Enclosed is a new complaint under James H. Brady, Plaintiff v. Barry R. Ostrager, John
Doe 1-10, and Jane Doe I-10, Defendants.

It is very important that the exhibits are each filed in separate items in the court system
by the Pro Se Intake Unit.

Thank you very much for your assistance and cooperation in this matter.

Sincerely,

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James H. Brady

 
